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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

HOLLIE ARNOLD                                §
     Plaintiff,                              §
                                             §
v.                                           §   CIVIL ACTION NO. _ _ __
                                             §
STATE FARM LLOYDS                            §
     Defendant.                              §


             INDEX OF DOCUMENTS FILED WITH REMOVAL ACTION


       1.    Docket Sheet [To BE SUPPLEMENTED]

       2.    Citation on State Farm Lloyds

       3.    Plaintiff's Original Petition and Initial Written Discovery Requests

       4.    Civil Case Information Sheet

       5.    Defendant's Original Answer

       6.    Defendant's Jury Demand

       7.    Notice of Removal
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                                  CITATION
                            Cause Number: 17-02-01756

Clerk of the Court                           Attorney Requesting Service
Barbara Gladden Adamiak                      Chris Schleiffer
P.O. Box 2985                                26619 Interstate 45
Conroe, Texas 77305                          The Woodlands TX 77380

                           THE STATE OF TEXAS
NOTICE TO DEFENDANT: You have been sued. You may employ an attorney.   If
you or your attorney does not file a written answer with the clerk who
issued this citation by 10:00 a.m. on the Monday next following the
expiration of twenty days after you were served this citation and
petition, a default judgment may be taken against you.

To:   State Farm Lloyds
      Registered Agent, Corporation Service Company
      211 East 7th St Ste #620
      Austin TX 78701-3218

You are hereby commanded to ci.ppear by filing a written answer to the
Plaintiff's Original Petition at or before 10:00 A.M. of the Monday next
after the expiration of twenty days after the date of service of this
citation before the Honorable 410th Judicial. District Court Montgomery
County, Texas at the Courthouse of said County in Conroe, Texas.

Said Plaintiff's Original Petition was filed in said court on this the 8th
day of February, 2017 numbered 17-02-01756 on the docket of said court,
and styled, Hollie Arnold VS. State Farm Lloyds

The nature of plaintiff's demand is fully shown by a true and correct copy
of Plaintiff's Original Petition accompanying this citation and made a
part hereof.

The officer executing this writ shall promptly serve the same according to
requirements of law, and the mandates thereof, and make due return as the
law directs.

Issued and given under my hand and seal of said Court at Conroe, Texas on
this the 4th day of April, 2017.


                                        Barbara Gladden Adamiak, District Clerk
               (SEAL)                                  Montgomery County, Texas

                                       By:    ,;    Signed: 4/4/2017 09:09 AM


                                                                          Stella Luton, Deputy
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                                OFFICER'S RETURN
Cause No. 17-02-01756               Court No: 410th Judicial District Court
Style: Hollie Arnold VS. State Farm Lloyds
To:       State Farm Lloyds
Address: Registered Agent Corporation Service Company
          211 East 7th St Ste #620
          Austin TX 78701-3218

Came to hand the ~-day of              , 20 , at          o'clock, and
executed in                   County, Texas by delivering to each of the
within named defendants in person, a true copy of this citation with the
date of delivery endorsed thereon, together with the accompanying copy of
the Plaintiff's Original Petition, at the following times and places, to
wit:
Name           Date/Time      Place, Course and distance from Courthouse




*And not executed as to the defendants(s)          ~~~~~~~~~~~~~~~~~~~-




The diligence used in finding said defendant(s) being:

And the cause of failure to execute this process is:

And information received as to the whereabouts of said defendant(s) being:


FEES:
Serving Petition and Copy           $~~~
TOTAL                               $   ~~~




                                                    ~~~~~~~~~~~~OFFICER
                                                    ~~~~~~~~~~-County,             Texas
                                                          By:   ~~~~~~~~'         Deputy
                                         AFFIANT
Complete if you are a person other than a Sheriff, Constable, or Clerk of the Court, In
accordance with Rule 107: the officer, or authorized person who services, or attempts to
serve a citation shall sign and return. The return must either be verified or be signed
under penalty of perjury. A return signed under penalty of perjury must contain the
statement below in substantially the following form:

My full name is                my date of birth is ~~/~~/~~' and my
address is  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~




I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT
Executed in  ~~~~~~~~~
                          , County, State of ~~~~' on the ~-day of
           20

                                                Declarant/Authorized Process Server

                                                         ID# & Exp. Of Certification
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                                                                                       Received and E-Filed for Record
                                                                                         2/8/2017 11 :40:42 AM
                                                                                         Barbara Gladden Adamick
                                                                                         District Clerk
                                                                                         Montgomery County, Texas

                             CAUSE NO. 17-02-01756


HOLLIE ARNOLD,                                §                       IN THE DISTRICT COURT
    Plaintiff,                                §
                                              §
                                              §
vs.                                           §            MONTGOMERY COUNTY, TEXAS
                                              §
                                                         Montgomery County· 410th Judlctal District Court
STATE FARM LLOYDS,                            §
     Defendant.                               §                              JUDICIAL DISTRICT

                           PI,AINTIFF'S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW Hollie Arnold (hereinafter "Plaintiff''), and complains of State Farm

Lloyds (hereinafter "Defendant"). In support of his claims and causes of action, Plaintiff would

respectfully show the Court as follows:

                                      DISCOVERY LEVEL

        I.     Plaintiff intends for discovery to be conducted at Level 2, pursuant to Rule 190 of

the Texas Rules of Civil Procedure.

                                 JURISDICTION AND YENUE

       2.      This Court has jurisdiction to hear Plaintiff's claims under Texas common law and

Texas statutory law. Inarguably, the amount in controversy exceeds the minimum jurisdictional

limits of this Court. Venue is also proper, as all or a substantial part of the events giving rise to

this suit occurred within the city of The Woodlands, in Montgomery County, Texas.

                                             PARTIES

       3.      Plaintiff is an individual whose residence is located in The Woodlands,

Montgomery County, Texas.



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          4.       Defendant State Farm is a Texas insurer, which may be served with process by

serving this Original Petition and a copy of the citation on its Registered Agent, Corporation

Service Company, at its registered address, 211 East 7th Street, Suite 620, Austin, Texas

78701-3218, or wherever it may be found.

                                            BACKGROUND

          5.       This matter revolves largely around a first party insurance dispute regarding the

extent of damages and amount of loss suffered to the Plaintiff's Property, which is located at 19

Wedgewood Forest Dr., The Woodlands, TX 77381, (the "Property"). In addition to seeking

economic and penalty based damages from Defendant, Plaintiff also seeks compensation from

Defendant for damages caused by improperly investigating the extensive losses associated with

this case.

          6.       Plaintiff owns the Property.

          7.       Prior to the occurrence in question, Plaintiff purchased a residential insurance

policy from Defendant to cover the Property at issue in this case for a loss due to storm-related

events.        Plaintiff's Property suffered storm-related damage. Through his residential policy,

536323529, Plaintiff was objectively insured for the subject loss by Defendant.

          8.       On or around April 18, 2016, the Property suffered incredible damage due to

storm related conditions.

          9.       In the aftermath, Plaintiff relied on Defendant to help begin the rebuilding

process. By and through his residential policy, Plaintiff was objectively insured for the subject

losses in this matter.




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        10. Pursuant to his obligation as a policyholder, Plaintiff made complete payment of all

residential insurance premiums in a timely fashion.        Moreover, his residential policy covered

Plaintiff during the time period in question.

        11.     Despite Plaintiff's efforts, Defendant continually failed and refused to pay

Plaintiff in accordance with its promises under the Policy.

        12.    Moreover, Defendant has failed to make any reasonable attempt to settle Plaintiff's

claims in a fair manner, although its liability to the Plaintiff under the policy is without dispute.

        13.     In the months following, Plaintiff provided information to Defendant, as well as

provided opportunities for Defendant to inspect the Property.         However, Defendant failed to

conduct a fair investigation into the damage to the Property.         Moreover, Defendant failed to

properly inspect the Property and its related damages, failed to properly request information,

failed to properly investigate the claim, failed to timely evaluate the claim, failed to timely

estimate the claim, and failed to timely and properly report and make recommendations in regard

to Plaintiff's claims.

        14.     Despite Defendant's improprieties, Plaintiff continued to provide information

regarding the losses and the related claim to Defendant.           Further, Plaintiff made inquiries

regarding the status of the losses, and payments. Regardless, Defendant failed and refused to

respond to the inquiries, and failed to properly adjust the claim and the losses. As a result, to this

date, Plaintiff has not received proper payment for his claim, even though notification was

provided.

        15.     Defendant has failed to explain the reasons for failing to offer adequate

compensation for the damage to the Property. Defendant has furthermore failed to offer Plaintiff

adequate compensation without any explanation why full payment was not being made.

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Defendant did not communicate that any future settlements or payments would be forthcoming

to pay the entire losses covered under the policy.

        16.     Defendant has further failed to affirm or deny coverage within a reasonable time.

Plaintiff also did not receive timely indication of acceptance or rejection regarding the full and

entire claim in writing from Defendant in a timely manner.

        17.     Defendant has, to date, refused to fully compensate Plaintiff under the terms of

the policy for which Plaintiff paid, even though it was Defendant that failed to conduct a

reasonable investigation.    Ultimately, Defendant performed a result-oriented investigation of

Plaintiff's claim that resulted in an unfair, biased and inequitable evaluation of Plaintiff's losses.

        18.     Defendant has failed to meet its obligations under the Texas Insurance Code

regarding timely acknowledging Plaintiff's claim, beginning an investigation of Plaintiff's claim,

and requesting all information reasonably necessary to investigate Plaintiff's claims within the

time period mandated by statute.

        19.    As a result of the above issues, Plaintiff did not receive the coverage for which he

had originally contracted with Defendant. Unfortunately, Plaintiff has, therefore, been forced to

file this suit in order to recover damages arising from the above conduct, as well as overall from

the unfair refusal to pay insurance benefits.

        20. In addition, Defendant has failed to place adequate and proper coverage for Plaintiff

causing Plaintiff to suffer further damages. As indicated below, Plaintiff seeks relief under the

cmmnon law, the Deceptive Trade Practices-Consumer Protection Act and the Texas Insurance

Code.

                                   CONDITIONS PRECEDENT

        21.    All conditions precedent to recovery by Plaintiff has been met or has occurred.

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                                              AGENCY

        22.    All acts by Defendant were undertaken and completed by its officers, agents,

servants, employees, and/or representatives. Such were either done with the full authorization or

ratification of Defendant and/or were completed in its nonnal and routine course and scope of

employment with Defendant.

                               CLAIMS AGAINST DEFENDANT

        23.     Plaintiff hereby incorporates by reference all facts and circumstances set forth

under the foregoing paragraphs.

                                                  A.
                                    BREACH OF CONTRACT

        24.     Plaintiff hereby incorporates by reference all facts and circumstances set forth

under the foregoing paragraphs.

        25.    According to the policy that Plaintiff purchased, Defendant had the absolute duty

to investigate Plaintiff's damages, and to pay Plaintiff's policy benefits for the claims made due

to the extensive st6nn-related damages.

        26.    As a result of the storm-related event, Plaintiff suffered extreme external and

internal damages.

        27.     Despite objective evidence of such damages, Defendant has breached its

contractual obligations under the subject insurance policy by failing to pay Plaintiff benefits

relating to the cost to properly repair Plaintiff's Property, as well as for related losses. As a result

of this breach, Plaintiff has suffered actual and consequential damages.




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                                                  B.
                       VIOLATIONS OF TEXAS DECEPTIVE TRADE
                         PRACTICES ACT AND TIE-IN-STATUTES

       28.     Plaintiff hereby incorporates by reference all facts and circumstances set forth

under the foregoing paragraphs.

       29.     Defendant's collective actions constitute violations of the DTPA, including but

not limited to, Sections l 7.46(b) (12), (14), (20), (24), and Section 17.SO(a) (4) of the Texas

Business & Commerce Code. Defendant collectively engaged in false, misleading, or deceptive

acts or practices that included, but were not limited to:

               a.      Representing that an agreement confers or involves rights, remedies, or
                       obligations which it does not have or involve, or which are prohibited by
                       law;

               b.      Misrepresenting the authority of a salesman, representative, or agent to
                       negotiate the final terms of a consumer transaction;

               c.      Failing to disclose information concerning goods or services which were
                       known at the time of the transaction, and the failure to disclose such
                       information was intended to induce the consumer into a transaction into
                       which the consumer would not have entered had such information been
                       disclosed;

               d.      Using or employing an act or practice in violation of the Texas Insurance
                       Code;

               e.      Unreasonably delaying the investigation, adjustment and resolution of
                       Plaintiff's claim;

               f.      Failure to properly investigate Plaintiff's claim; and/or

               g.      Hiring and relying upon a biased engineer and/or adjuster to obtain a
                       favorable, result-oriented report to assist Defendant in low-balling and/or
                       denying Plaintiff's damage claim.

       30.     As described in this Original Petition, Defendant represented to Plaintiff that his

insurance policy and Defendant's adjusting and investigative services had characteristics or

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benefits that it actually did not have, which gives Plaintiff the right to recover under Section

17.46 (b)(5) of the DTPA.

       31.     As described in this Original Petition, Defendant represented to Plaintiff that its

insurance policy and Defendant's adjusting and investigative services were of a particular

standard, quality, or grade when they were of another, which stands in violation of Section 17.46

(b)(7) of the DTPA.

       32.     By representing that Defendant would pay the entire amount needed by Plaintiff

to repair the damages caused by the storm-related event and then not doing so, Defendant has

violated Sections 17.46 (b)(5), (7) and (12) of the DTPA.

       33.     Defendant has breached an express warranty that the damage caused by the storm-

related event would be covered under the subject insurance policies.          This breach entitles

Plaintiff to recover under Sections 17.46 (b) (12) and (20) and 17.50 (a) (2) of the DTPA.

       34.     Defendant's actions, as described herein, are unconscionable in that it took

advantage of Plaintiff's lack of lmowledge, ability, and experience to a grossly unfair degree.

Defendant's unconscionable conduct gives Plaintiff the right to relief under Section l 7.50(a)(3)

of the DTPA.

       35.     Defendant's conduct, acts, omissions, and failures, as described in this Original

Petition, are unfair practices in the business of insurance in violation of Section 17.50 (a) (4) of

theDTPA.

       36.     Plaintiff is a consumer, as defined under the DTPA, and relied upon these false,

misleading, or deceptive acts or practices made by Defendant to his detriment. As a direct and

proximate result of Defendant's collective acts and conduct, Plaintiff has been damaged in an

amount in excess of the minimum jurisdictional limits of this Court, for which Plaintiff now

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sues. All of the above-described acts, omissions, and failures of Defendant are a producing cause

of Plaintiff's damages that are described in this Original Petition.

       37.      Because Defendant's collective actions and conduct were committed knowingly

and intentionally, Plaintiff is entitled to recover, in addition to all damages described herein,

mental anguish damages and additional penalty damages, in an amount not to exceed three times

such actual damages, for Defendant having knowingly committed its conduct. Additionally,

Plaintiff is ultimately entitled to recover damages in an amount not to exceed three times the

amount of mental anguish and actual damages due to Defendant having intentionally committed

such conduct.

       38.      As a result of Defendant's unconscionable, misleading, and deceptive actions and

conduct, Plaintiff has been forced to retain the legal services of the undersigned attorneys to

protect and pursue these claims on his behalf. Accordingly, Plaintiff also seeks to recover his

costs and reasonable and necessary attorneys' fees as permitted under Section l 7.50(d) of the

Texas Business & Commerce Code, as well as any other such damages to which Plaintiff may

show himself to be justly entitled at law and in equity.

                                                 c.
                       VIOLATIONS OF TEXAS INSURANCE CODE

       39.      Plaintiff hereby incorporates by reference all facts and circumstances set forth

within the foregoing paragraphs.

       40.      Defendant's actions constitute violations of the Texas Insurance Code, including

but not limited to, Article 21.21 Sections 4(10) (a) (ii), (iv), and (viii) (codified as Section

541.060), Article 21.21 Section ll(e) (codified as Section 541.061), and Article 21.55 Section




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3(t) (codified as Section 542.058).        Specifically, Defendant engaged in certain unfair or

deceptive acts or practices that include, but are not limited to the following:

               a.      Failing to attempt, in good faith, to effectuate a prompt, fair, and equitable
                       settlement of a claim with respect to which the insurer's liability has
                       become reasonably clear;

               b.      Failing to provide promptly to a policyholder a reasonable explanation of
                       the basis in the policy, in relation to the facts or applicable law,, for the
                       insurer's denial of a claim or for the offer of a compromise settlement of a
                       claim;

               c.      Refusing to pay a claim without conducting a reasonable investigation
                       with respect to the claim;

               d.      Forcing Plaintiff to file suit to recover amounts due under the policy by
                       refusing to pay all benefits due;

               e.      Misrepresenting an insurance policy by failing to disclose any matter
                       required by law to be disclosed, including a failure to make such
                       disclosure in accordance with another provision of this code; and/or

               f.      Failing to pay a valid claim after receiving all reasonably requested and
                       required items from the claimant.

        41.    Plaintiff is the insured or beneficiary of a claim which was apparently valid as a

result of the unauthorized acts of Defendant, and Plaintiff relied upon these unfair or deceptive

acts or practices by Defendant to his detriment. Accordingly, Defendant became the insurer of

Plaintiff.

        42.    As a direct and proximate result of Defendant's acts and conduct, Plaintiff has

been damaged in an amount in excess of the minimum jurisdictional limits of this Court, for

which he now sues.

        43.    Since a violation of the Texas Insurance Code is a direct violation of the DTPA,

and because Defendant's actions and conduct were committed knowingly and intentionally,



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Plaintiff is entitled to recover, in addition to all damages described herein, mental anguish

damages and additional damages in an amount not to exceed three times the amount of actual

damages, for Defendant having knowingly committed such conduct. Additionally, Plaintiff is

entitled to recover damages in an amount not to exceed three times the amount of mental and

actual damages for Defendant having intentionally committed such conduct.

       44.     As a result of Defendant's unfair and deceptive actions and conduct, Plaintiff has

been forced to retain the legal services of the undersigned attorneys to protect and pursue these

claims on his behalf. Accordingly, Plaintiff also seeks to recover his costs and reasonable and

necessary attorneys' fees as permitted under Section 17.50(d) of the Texas Business &

Connnerce Code or Article 21.21 Section 16(b) (1) (codified as Section 541.152) of the Texas

Insurance Code and any other such damages to which Plaintiff may show himself justly entitled

by law and in equity.

                                                D.
                         BREACH OF THE COMMON-LAW DUTY
                          OF GOOD FAITH AND FAIR DEALING

       45.     Plaintiff hereby incorporates by reference all facts and circumstances m the

foregoing paragraphs.

       46.     By its acts, omissions, failures and conduct, Defendant has breached its common

law duty of good faith and fair dealing by denying Plaintiff's claims or inadequately adjusting

and making an offer on Plaintiff's claims without any reasonable basis, and by failing to conduct

a reasonable investigation to determine whether there was a reasonable basis for this denial.

       47.     Defendant has also breached this duty by unreasonably delaying payment of

Plaintiff's entire claims and by failing to settle Plaintiff's claims, as Defendant knew or should

have !mown that it was reasonably clear that Plaintiff's storm-related claims were covered.

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These acts, omissions, failures, and conduct by Defendant is a proximate cause of Plaintiff's

damages.

                                           E.
                              UNFAIR INSURANCE PRACTICES

        48.     Plaintiff hereby incorporates by reference all facts and circumstances in the

foregoing paragraphs.

        49.    Plaintiff has satisfied all conditions precedent to bringing these causes of action.

By its acts, omissions, failures, and conduct, Defendant has engaged in unfair and deceptive acts

or practices in the business of insurance in violation of Chapter 541 of the Texas Insurance Code.

        50.    Such violations include, without limitation, all the conduct described in this

Original Petition, plus Defendant's failure to properly investigate Plaintiff's claim. Plaintiff also

includes Defendant's umeasonable delays in the investigation, adjustment, and resolution of

Plaintiff's claims and Defendant's failure to pay for the proper repair of Plaintiff's Property, as to

which Defendant's liability had become reasonably clear.

        51.    Additional violations include Defendant's hiring of and reliance upon biased

adjusters and/or engineers to obtain favorable, result-oriented reports to assist it in low-balling

and denying Plaintiff's storm-related damage and related claims.           Plaintiff further includes

Defendant's failure to look for coverage and give Plaintiff the benefit of the doubt, as well as

Defendant's misrepresentations of coverage under the subject insurance policy. Specifically,

Defendant is also guilty of the following unfair insurance practices:

               a.       Engaging in false, misleading, and deceptive acts or practices m the
                        business of insurance in this case;

               b.       Engaging in unfair claims settlement practices;




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               c.       Misrepresenting to Plaintiff pertinent facts or policy provisions relating to
                        the coverage at issue;

               d.       Not attempting in good faith to effectuate a prompt, fair, and equitable
                        settlement of Plaintiff's claims as to which Defendant's liability had
                        become reasonably clear;

               e.       Failing to affirm or deny coverage of Plaintiff's claims within a reasonable
                        time and failing within a reasonable time to submit a reservation of rights
                        letter to Plaintiff;

               f.       Refusing to pay Plaintiff's claims without conducting a reasonable
                        investigation with respect to the claims; and/or

               b.       Failing to provide promptly to a policyholder a reasonable explanation of
                        the basis in the insurance policy, in relation to the facts or applicable law,
                        for the denial of a claim or for the offer of a compromise settlement.

       52.     Defendant has also breached the Texas Insurance Code when it breached its duty

of good faith and fair dealing. Defendant's conduct as described herein has resulted in Plaintiff's

damages that are described in this Original Petition.

                                            F.
                                    MISREPRESENTATION

       53.     Plaintiff hereby incorporates by reference all facts and circumstances m the

foregoing paragraphs.

       54.     Defendant is liable to Plaintiff under the theories of intentional misrepresentation,

or in the alternative, negligent misrepresentation. Essentially, Defendant did not inform Plaintiff

of certain exclusions in the policy. Misrepresentations were made with the intention that they

should be relied upon and acted upon by Plaintiff who relied on the misrepresentations to his

detriment. As a result, Plaintiff has suffered damages, including but not limited to loss of the

Property, loss of use of the Property, mental anguish and attorney's fees. Defendant is liable for

these actual consequential and penalty-based damages.


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                                  WAIVER AND ESTOPPEL

         55.    Plaintiff hereby incorporates by reference all facts and circumstances set forth

under the foregoing paragraphs.

         56.    Defendant has waived and is estopped from asserting any defenses, conditions,

exclusions, or exceptions to coverage not contained in any Reservation of Rights or denial letters

to Plaintiff.

                                           DAMAGES

         57.    Defendant's acts have been the producing and/or proximate cause of damage to

Plaintiff, and Plaintiff seeks an amount in excess of the minimum jurisdictional limits of this

Court.

         58.    More specifically, Plaintiff seeks monetary relief of $100,000 or less, including

damages of any kind, penalties, costs, expenses, pre-judgment interest, and attorney fees.

                              ADDITIONAL DAMAGES & PENALTIES

         59.    Defendant's conduct was committed knowingly and intentionally. Accordingly,

Defendant is liable for additional damages under the DTPA, section 17.50(b) (1), as well as all

operative provisions of the Texas Insurance Code. Plaintiff is, thus, clearly entitled to the 18%

damages allowed by the Texas Insurance Code.

                                       ATTORNEY FEES

         60.    In addition, Plaintiff is entitled to all reasonable and necessary attorneys' fees

pursuant to the Texas Insurance Code, DTPA, and sections 38.001-.005 of the Civil Practice and

Remedies Code.




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                                          JURY DEMAND

        61.      Plaintiff demands a jury trial and tenders the appropriate fee with this Original

Petition.

                                  REOUEST FOR DISCLOSURE

        62.      Pursuant to the Texas Rules of Civil Procedure, Plaintiff requests that Defendant

disclose all information and/or material as required by Rule 194.2, paragraphs (a) through(!),

and to do so within 50 days of this request.

                                 REQUEST FOR PRODUCTION

        63.      Pursuant to the Texas Rules of Civil Procedure, Plaintiff propounds the following

Requests for Production.

              a.    Please produce Defendant complete claim files from the home, regional, local
            offices, and third party adjusters/adjusting firms regarding the claims that are the
            subject of this matter, including copies of the file jackets, "field" files and notes, and
            drafts of documents contained in the file for the premises relating to or arising out of
            Plaintiff's underlying claim.

             b.    Please produce the underwriting files referring or relating in any way to the
            policy at issue in this action, including the file folders in which the underwriting
            documents are kept and drafts of all documents in the file.

              c.   Please produce certified copy of the insurance policy pertaining to the claims
            involved in this suit.

              d.    Please produce the electronic diary, including the electronic and paper notes
            made by Defendant claims personnel, contractors, and third party adjusters/adjusting
            firms relating to the Plaintiff's claims.

              e.    Please produce all emails and other forms of communication by and between all
            parties in this matter relating to the underlying event, claims or the Property, which is
            the subject of this suit.

              f.   Please produce the adjusting reports, estimates and appraisals prepared
            concerning Plaintiff's underlying claim.



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           g.     Please produce the field notes, measurements and file maintained by the
          adjuster(s) and engineers who physically inspected the subject Property.

           h.     Please produce the emails, instant messages and internal correspondence
          pertaining to Plaintiff's underlying claim(s).

           i.     Please produce the videotapes, photographs and recordings of Plaintiff or
          Plaintiff's home, regardless of whether Defendant intends to offer these items into
          evidence at trial.

                                        INTERROGATORIES

        64.        Pursuant to the Texas Rules of Civil Procedure, Plaintiff propounds the following

Interrogatories.

             a.     Please identify any person Defendant expects to call to testify at the time of
          trial.

           b.     Please identify the persons involved in the investigation and handling of
          Plaintiff's claims for insurance benefits arising from damage relating to the underlying
          event, claims or the Property, which is the subject of this suit, and include a brief
          description of the involvement of each person identified, their employer, and the date(s)
          of such involvement.

            c.    If Defendant or Defendant's representatives performed any investigative steps
          in addition to what is reflected in the claims file, please generally describe those
          investigative steps conducted by Defendant or any of Defendant's representatives with
          respect to the facts surrounding the circumstances of the subject loss. Identify the
          persons involved in each step.

          d.    Please identify by date, author, and result the estimates, appraisals, engineering,
         mold and other reports generated as a result of Defendant's investigation.

              e.    Please state the following concerning notice of claims and timing of payment:

                          1.     The date and manner in which Defendant received notice of the
                                 claim;
                          ii.    The date and manner in which Defendant aclmowledged
                                 receipt of the claim;
                          iii.   The date and manner in which Defendant commenced
                                 investigation of the claim;
                          1v.    The date and manner in which Defendant requested from the
                                 claimant all items, statements, and forms that Defendant

PLAINTIFF HOLLIE ARNOLD'S ORIGINAL PETITION                                                 Page 15
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                                reasonably believed, at the time, would be required from the
                                claimant; and
                         v.     The date and manner in which Defendant notified the claimant
                                in writing of the acceptance or rejection of the claim.

          f.   Please identify by date, amount and reason, the insurance proceed payments
         made by Defendant, or on Defendant's behalf, to the Plaintiff.

           g.    Have Plaintiff's claims for insurance benefits been rejected or denied in full or
         in part? If so, state the reasons for rejecting/denying the claim.

             h.     When was the date Defendant anticipated litigation?

           i.    Have any documents (including those maintained electronically) relating to the
         investigation or handling of Plaintiff's claims for insurance benefits been destroyed or
         disposed of? If so, please identify what, when and why the document was destroyed,
         and describe Defendant's document retention policy.

           j.    Does Defendant contend that the insured premises was damaged by storm-
         related events and/or any excluded peril? If so, state the general factual basis for this
         contention.

           k.    Does Defendant contend that any act or om1ss1on by the Plaintiff voided,
         nullified, waived or breached the insurance policy in any way? If so, state the general
         factual basis for this contention.

           1.    Does Defendant contend that the Plaintiff failed to satisfy any condition
         precedent or covenant of the policy in any way? If so, state the general factual basis for
         this contention.

           m. How is the performance of the adjuster( s) involved in handling Plaintiff's
         claims evaluated? State the following:

                         1.     what performance measures are used; and
                         ii.    describe Defendant's bonus or incentive plan for adjusters.


                                          CONCLUSION

       65.        Plaintiff prays that judgment be entered against State Farm Lloyds, and that

Plaintiff be awarded all of his actual damages, consequential damages, prejudgment interest,

additional statutory damages, post judgment interest, reasonable and necessary attorney fees,

PLAINTIFF HOLLIE ARNOLD'S ORIGINAL PETITION                                                   Page 16
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court costs and for all such other relief, general or specific, in law or in equity, whether pied or

un-pled within this Original Petition.

                                            PR AXER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff prays he be awarded all such relief

to which he is due as a result of the acts of State Farm Lloyds, and for all such other relief to

which Plaintiff may be justly entitled.

                                              Respectfully submitted,

                                              THE   v oss LAW FIRM, P.C.
                                              is/ Chris Schleif!er
                                              Chris Schleiffer
                                              Texas Bar No. 24088362
                                              The Voss Law Center
                                              26619 Interstate 45 South
                                              The Woodlands, Texas 77380
                                              Telephone: (713) 861-0015
                                              Facsimile: (713) 861-0021
                                              chris(riJvQsslawfirm.com

                                             ATTORNEY FOR PLAINTIFF




PLAINTIFF HOLLIE ARNOLD'S ORIGINAL PETITION                                                Page 17
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      Montgomery        County~   410th Judicial District Court                                                                                              Received and E-Filed for Record
                                                                CIVIL CASE INFORMATION SHEET                                                                 2/8/2017 11 :40:42 AM
        CAUSE NUMBER (FOR CLERK USE ONLY):                  17-02-01756                                          COURT (FOR CLERK USEONLY):Barbara                     Gladden Adamick
                                                           -------------                                                                                     District Clerk
                                                   STYLED: HOLLIE ARNOLD V. STATE FARM LLOYDS                                                                Montgomery County, Texas
                                     (e.g., John Smith v. All American Insurance Co; In re Mary Ann Jones; In the Matter of the Estate of George Jackson)

A civil case inforrnation sheet must be completed and submitted when an original petition or application is filed to initiate a new civil, family law, probate, or mental
health case or when a post-judgment petition for modification or motion for enforccn1cnt is filed in a family Jaw case. The information should be the best available at
the time of filing.
1. Contact information for person completin" case Information sheet:                 tNames of parties in case:                                       Person or entitv comnletine: sheet is:
                                                                                                                                                 '"l.ttomey for Plaintiff/Petitioner
Name:                                    Email;                                      Plaintiff(s)/Pcti ti oner(s):                               Pro Se Plaintiff/Petitioner
                                         chris@vosslawfirm.com                                                                                   Title IV-D Agency
                                                                                     HOLLIE ARNOLD                                               Other: _ _ _ _ _ _ _ _ __
 Chris Schleiffer
                                         Telephone:                                  Defendant(s)/Respondcnt(s):
Address:                                                                                                                                         [Additional Parties in Child Support Case:
                                         '.-(7~1~3_._)~8=6~1-~0~0~1~5_ _ _ STATE FARM LLOYDS
26619 Interstate 45                                                                                                                              Custodia! Parent:
                                                                                     [Attach additional page as necessary to list all parties]
                                         Fax:
City/State/Zip:
                                                                                                                                                 Non-Custodial Parent:
                                         (713) 861-0021
The Woodlands. TX
                                         State Bar No:                                                                                           Presumed Father:
77380
                                         24088362

2. Indicate case tvne, or identifv the most imoortant issue in the case (select onlv I):
                                                   Civil                                                                                              FamilvLaw
                                                                                                                                                                 Post-judgment Actions
            Contract                       Injurv or Damau:e                        Real Propertv                        Marriauc Relationship                       (non-Title IV-D)
Debt/Contract                       Assault/Battery                        Eminent Domain/                             Annulment                             Enforcement
  XXX Consumer/DTPA                !Construction                              Condemnation                             Declare Marriage Void                 Modification-Custody
   Debt/Contract                    Defamation                             Partition                                   Divorce                               Modification-Other
   Fraud/Misrepresentation          Malpractice                            Quiet Title                                   With Children                                  TitleIV-D
  Other Debt/Contract:                Accounting                           Trespass to Try Title                         No Children                         Enforcement/Modification
   Breach of Contract                 Legal                                Other Property:                                                                   Paternity
Porec!osure                           Medical                                                                                                                Reciprocals (UIFSA)
   Home Equity-Expedited              Other Professional                                                                                                     Support Order
   Other Foreclosure                     Liability:
Franchise                                                                   Related to Criminal Matters     Other Family LaW                                   Parent-Child Relationship
Insurance                          Motor Vehicle Accident                  Expunction                   Enforce Foreign                                      Adoption/Adoption with
Landlord/Tenant                    Premises                                Judgment Nisi                   Judgment                                            Termination
Non-Competition                    !Product Liability                      Non-Disclosure               Habeas Corpus                                        Child Protection
Partnership                          Asbestos/Silica                       Seizure/Forfeiture           Name Change                                          Child Support
Other Contract:                      Other Product Liability               Writ of Habeas Corpus-       Protective Order                                     Custody or Visitation
                                        List Product:                         Pre-indictment            Removal of Disabilities                              Gestational Parenting
                                                                           Other: _ _ _ _ _ __             of Minority                                       Grandparent Access
                                    Other Injury or Damage:                                             Other:                                               Parentage/Paternity
                                                                                                                                                             Termination of Parental
                                                                                                                                                                Rights
           Employment                                              Other Civil                                                                               Other Parent-Child:
Discrimination                      Administrative Appeal                Lawyer Discipline
Retaliation                         Antitrust/Unfair                     Perpetuate Testimony
rcrmination                            Competition                       Securities/Stock
Workers' Compensation               Code Violations                      Tortious Interference
Other Employment:                   Foreign Judgment                     Other:
                                    Intellectual Property
                  Tax                                                                          Probate & Mental Health
 Tax Appraisal                      Probate/Wills/Intestate Administration                                     Guardianship-Adult
 Tax Delinquency                      Dependent Administration                                                 Guardianship--Minor
 Other Tax                            Independent Administration                                               Mental Health
                                      Other Estate Proceedings                                                 Other: _ _ _ _ _ _ _ __

3. Indicate nrocedure or rcmedv, if aoolicable (mav select more than JJ:
 Appeal from Municipal or Justice Comt                Declaratory Judgment                                                          Prejudgment Remedy
 Arbitration-related                                  Garnishment                                                                   Protective Order
 Attachtnent                                          lnterplcadcr                                                                  Receiver
 Bill of Review                                       License                                                                       Sequestration
 Certiorari                                           Mandamus                                                                     !Temporary Restraining Order/Injunction
 Class Action                                         Post-judgment                                                                 Trnnovcr
4. Indicate damages sought Cdo not select if it is a family law case):
XXX Less than $100,000, including damages of any kind, penalties, costs, expenses, pre-judgment interest, and attorney fees Less than $100,000 and
non-monetary relief
Over $100, 000 but not more than $200,000
Over $200,000 but not more than $1,000,000
Over $1,000,000.
 Case 4:17-cv-01520 Document 1-2 Filed in TXSD on 05/17/17 Page 22 of 32
                                                                              Received and E-Filed for Record
                                                                                        5/12/2017 4:16:47 PM
                                                                                    Barbara Gladden Adamick
                                                                                                 District Clerk
                                                                                  Montgomery County, Texas

                                   CAUSE NO, 17-02-01756

HOLLIE ARNOLD                                 §                  IN THE DISTRICT COURT
     Plaintiff,                               §
                                              §
vs.                                           §         MONTGOMERY COUNTY, TEXAS
                                              §
STATE FARM LLOYDS                             §
     Defendant.                               §                 41QTH JUDICIAL DISTRICT


               DEFENDANTS STATE FARM LLOYDS' ORIGINAL ANSWER


TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, STATE FARM LLOYDS, Defendant in the above-entitled and

numbered cause, and for its Original Answer to Plaintiff's Original Petition, would

respectfully show the Court the following:

                                              I.


        Pursuant to the provisions of Rule 92 of the Texas Rules of Civil Procedure,

Defendant, STATE FARM LLOYDS denies each and every, all and singular, the allegations

contained in Plaintiff's Original Petition and demand strict proof thereof.

                                              11.

        Defendant STATE FARM LLOYDS reserves the right to amend this Original Answer

pursuant to the Texas Rules of Civil Procedure.

        WHEREFORE, PREMISES CONSIDERED, Defendant, STATE FARM LLOYDS

prays that Plaintiff takes nothing by reason of his suit herein and that Defendant has

judgment in its favor on all issues of law and fact in this matter.




Arnold, Hollie - Original Answer                                                      Page 1
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                                         Respectfully submitted,


                                        RAMEY, CHANDLER, QUINN & ZITO, P.C.

                                            /     ~          /1//
                                         By:.    ~~ {/~/,/'
                                            Brian M. Chandler
                                            SBN: 04091500
                                            bmc@ramey-chandler.com
                                            Ronald P. Schramm
                                            SBN: 17810385
                                            rps@ramey-chandler.com
                                            750 Bering Drive, Suite 600
                                            Houston, Texas 77057
                                            Telephone: (713) 266-0074
                                            Facsimile: (713) 266-1064

                                        ATTORNEYS FOR DEFENDANT
                                        STATE FARM LLOYDS


                                   CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Original Answer has
been served on all counsel of record by certified mail, return receipt requested, by courier,
receipted delivery, or by telephonic document transfer on this /;J_-IT~ day of May, 2017.




                                          <~a
                                           AfRIAN M. CHANDLER




Arnold, Hollie - Original Answer                                                      Page2
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                                                                       ReceiVed and EwFiled for Record
                                                                                5/12/2017 4:16:47 PM
                                                                            Barbara Gladden Adamick
                                                                                         District Clerk
                                                                           Montgomery County, Texas

                             CAUSE NO. 17-02-01756

HOLLIE ARNOLD                           §                IN THE DISTRICT COURT
     Plaintiff,                         §
                                        §
vs.                                     §        MONTGOMERY COUNTY, TEXAS
                                        §
STATE FARM LLOYDS                       §
     Defendant.                         §               410TH JUDICIAL DISTRICT


          DEFENDANT STATE FARM LLOYDS' REQUEST FOR JURY TRIAL



TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, STATE FARM LLOYDS, Defendant in the above-entitled and

numbered cause and hereby demands a trial by jury. The requisite jury fee has been

paid.

        WHEREFORE, PREMISES CONSIDERED, Defendant requests that the Court

grant it trial by jury.

                                     Respectfully submitted,

                                     RAMEY, CHANDLER, QUINN &ZITO, P.C.

                                         /~
                                  By:~~·
                                       Brian M. Chandler
                                       SBN: 04091500
                                       bmc@ramey-chandler.com
                                       Ronald P. Schramm
                                       SBN: 17810385
                                       rps@ramey-chandler.com
                                       750 Bering Drive, Suite 600
                                       Houston, Texas 77057
                                       Telephone: (713) 266-0074
                                       Facsimile: (713) 266-1064

                                       ATTORNEYS FOR DEFENDANT
                                       STATE FARM LLOYDS
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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing has been served on
all counsel of record by certified mail, return receipt requested, by courier, receipted
delivery, or by telephonic document transfer on this /:}}!,_day of May, 2017.




                                        Brian M. Chandler




ARNOLD, HOLLIE - JURY DEMAND                                                       PAGE2
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                               CAUSE NO. 17-02-01756

HOLLIE ARNOLD                              §                IN THE DISTRICT COURT
     Plaintiff,                            §
                                           §
vs.                                        §        MONTGOMERY COUNTY, TEXAS
                                           §
STATE FARM LLOYDS                          §
     Defendant.                            §               410TH JUDICIAL DISTRICT


   NOTICE OF REMOVAL OF CIVIL ACTION TO THE UNITED STATES DISTRICT
    COURT FOR THE SOUTHERN DISTRICT OF TEXAS (HOUSTON DIVISION)


TO THE CLERK OF THE ABOVE-ENTITLED COURT:

        On May 17, 2017, Defendant, STATE FARM LLOYDS, filed its Notice of

Removal in the United States District Court for the Southern District of Texas (Houston

Division).   The Notice of Removal effects the removal, and the State Court shall

proceed no further unless and until the case is remanded. 28 U.S.C. § 1446(d). The

Notice of Removal is attached as Exhibit "A."

                                        Respectfully submitted,

                                        RAMEY, CHANDLER, QUINN & ZITO,   P .C.

                                        By: Isl Brian M. Chandler
                                           Brian M. Chandler
                                           State Bar No. 04091500
                                           Federal Bar No. 7660
                                           Ronald P. Schramm
                                           State Bar No.17810385
                                           Federal Bar No. 174875
   Case 4:17-cv-01520 Document 1-2 Filed in TXSD on 05/17/17 Page 27 of 32




                                            750 Bering Drive, Suite 600
                                            Houston, Texas 77057
                                            Telephone: (713) 266-0074
                                            Facsimile: (713) 266-1064

                                            ATTORNEYS FOR DEFENDANT
                                            STATE FARM LLOYDS


                             CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing has been served on
the following by either Certified Mail, Return Receipt Requested, hand-delivery or
facsimile transmission on this the 17th day of May, 2017.

             Chris Schlieffer
             State Bar No. 24088362
             The Voss Law Center
             26619 Interstate 45 South
             The Woodlands, Texas 77380


                                               Isl Brian M. Chandler
                                               Brian M. Chandler
     Case 4:17-cv-01520 Document 1-2 Filed in TXSD on 05/17/17 Page 28 of 32




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

HOLLIE ARNOLD                                 §
     Plaintiff,                               §
                                              §
v.                                            §   CIVIL ACTION NO. - - - - -
                                              §
STATE FARM LLOYDS                             §
     Defendant.                               §


                                   NOTICE OF REMOVAL



          PLEASE TAKE NOTICE that Defendant, State Farm Lloyds, hereby removes

to this Court, the State Court action described below.

                          Procedural Background and Parties

          1.    On or about February 8, 2017, Hollie Arnold Plaintiff's Original Petition

in Cause No. 17-02-01756 in the 41 oth Judicial District Court of Montgomery County,

Texas, initiating an action identifying State Farm Lloyds as the Defendant.

          2.    State Farm Lloyds received the Citation and Plaintiff's Original Petition on

or about April 21, 2017. Defendant State Farm Lloyds filed an Original Answer and

Request for Jury Trial, and is filing a Notice of Removal of Civil Action in the State Court

action.

          3.   At the time this action was commenced, Plaintiff was, and still is, a citizen

of Texas. Hollie Arnold is an individual residing in Montgomery County, Texas; and,

thus, is a citizen of Texas.



NOTICE OF REMOVAL                                                                     PAGE 1
                                                                 EXHIBIT

                                                            I      A
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        4.      Defendant State Farm was at the time this action was commenced, and

still is, a citizen of Illinois. State Farm is a "Lloyd's Plan" organized under chapter 941 of

the Texas Insurance Code. It consists of an unincorporated association of underwriters

who were at the ti,me this action was commenced, and still are, all citizens and residents

of Illinois and Arizona, thereby making State Farm Lloyds a citizen of Illinois and

Arizona for diversity purposes. See Royal Ins. Co. of Am. v. Quinn-L Capital Corp., 3

F.3d 877, 882-83 (5th Cir. 1993) (citizenship of unincorporated association determined

by citizenship of members). Therefore, complete diversity of citizenship exists between

Plaintiff and Defendant State Farm.

                                    Nature of the Suit

        5.      In her Original Petition, Plaintiff alleges multiple claims and causes of

action against State Farm Lloyds including breach of contract, violations of Texas

Deceptive Trade Practices Act, non-compliance with Sections 541 and 542 of the

Texas Insurance Code, and unfair insurance practices. Plaintiff also asserts that

State Farm Lloyds breached the common law duty of good faith and fair dealing.

                                   Basis for Removal

        6.      This Court has original jurisdiction under 28 U.S.C. § 1332 over this

civil action, and the action may be removed by Defendant pursuant to 28 U.S.C. §

1441 (b ), in that it is a civil action between citizens of different states, and the matter

in controversy exceeds the sum of $75,000.00 exclusive of interest and costs.

        7.     Plaintiff's Original Petition does not set forth the exact amount of

damages Plaintiff seeks in this action. Plaintiff has asserted numerous claims and

NOTICE OF REMOVAL                                                                      PAGE2
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causes of action against Defendant seeking not only actual damages, but also

statutory damages, statutory interest and attorneys' fees.             Therefore, based on

information and belief, the amount in controversy in this action exceeds $75,000.00,

exclusive of interest and costs.       See Chittick v. Farmers Ins. Exchange, 844 F.

Supp. 1153, 1155-56 (S.D. Tex. 1994).

                            Removal is Procedurally Correct

        8.      Plaintiff filed her Original Petition on or about February 8, 2017. State

Farm received the citation and Plaintiff's Original Petition on or about April 21, 2017.

Therefore, State Farm has filed this Notice of Removal within the 30-day time period

required by 28 U.S.C. § 1446(b). Also, this Notice of Removal is being filed less

than one year after the commencement of the State Court Action.

        9.      Venue is proper in this district under 28 U.S.C. § 1446(a) because this

district and division embrace the place in which the removed action was pending

and because a substantial part of the events giving rise to the Plaintiff's claims

allegedly occurred in this district.

        1O.     Pursuant to 28 U.S.C. § 1446(a), all pleadings, process, orders, and all

other filings in the state court action are attached to this Notice.

        11.    Pursuant to Local Rule 81, all documents required by that rule to be

filed with this Notice of Removal are attached and indexed.

        12.    Pursuant to 28 U.S.C. § 1446(d), Defendant will provide prompt written

notice of the filing of this Notice of Removal to Plaintiff, and will file a notice with the

Clerk of the 41 Oth Judicial District Court for Montgomery County, Texas.

NOTICE OF REMOVAL                                                                     PAGE3
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                                        Respectfully submitted,

                                        By: Isl Brian M. Chandler
                                           Brian M. Chandler, Attorney-in-Charge
                                           State Bar No. 04091500
                                           Federal Bar No. 7660
                                           750 Bering Drive, Suite 600
                                           Houston, Texas 77057
                                           Telephone: (713) 266-0074
                                           Facsimile: (713) 266-1064
                                           Email: bmc@ramey-chandler.com

OF COUNSEL:

RAMEY, CHANDLER, QUINN & ZITO, P.C.
Ronald P. Schramm
State Bar No. 17810385
Federal Bar No. 17 4875
Jill D. Schein
State Bar No. 00787476         ATTORNEYS FOR DEFENDANT
Federal Bar No. 18838          STATE FARM LLOYDS



                            CERTIFICATE OF SERVICE

      I certify that a true and correct copy of the foregoing was served on all parties
by and through their attorney(s) of record via the Court's EM/ECF system on this
17th day of May 2017.


                                              Isl Brian M. Chandler
                                              Brian M. Chandler




NOTICE OF REMOVAL                                                                PAGE4
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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

HOLLIE ARNOLD                           §
     Plaintiff,                         §
                                        §
v.                                      §   CIVIL ACTION NO. _ _ _ __
                                        §
STATE FARM LLOYDS                       §
     Defendant.                         §


                                   AFFIDAVIT


STATE OF TEXAS                 §
                               §
COUNTY OF HARRIS               §

       I, RONALD P. SCHRAMM, being duly sworn, state that I am the attorney of
record for STATE FARM LLOYDS in this litigation; that I have prepared and read the
foregoing Notice of Removal; and, that the factual matters set forth and contained
therein are to the best of my knowledge and belief true and correct.



                                   /:::~a
                                     RONALD P. SCHRAMM


       SUBSCRIBED AND SWORN TO before me on this       /b_M    day of May, 2017.
